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 1 BRUCE LOCKE (#177787)
     Moss & Locke
 2 555 University Avenue, Suite 170
     Sacramento, CA 95825
 3 (916) 569-0667
     (916) 569-0665 fax
 4 Attorneys for
     JESUS VALENCIA ONTIVEROS
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,      )                No. CR 07-0088-02 FCD
                                  )
11                Plaintiff,      )                STIPULATION AND ORDER
                                  )                CONTINUING THE DATE FOR
12                                )                SENTENCING FROM JUNE 2,
        v.                        )                2008 TO AUGUST 4, 2008 AND
13                                )                MODIFYING THE SCHEDULE
   JESUS VALENCIA ONTIVEROS )                      FOR THE PRE-SENTENCE REPORT
14                                )
                  Defendant.      )
15 _______________________________)
16         The defendant, Jesus Valencia Ontiveros, by and through his attorney, Bruce
17 Locke, and the United States, by and through its attorney, Philip Ferrari, hereby
18 stipulate that the Judgement and Sentencing currently set for June 2, 2008 shall be
19 continued to August 4, 2008 at 10:00 a.m., and the parties further stipulate that the
20 proposed Pre-Sentence Report shall be disclosed to counsel no later than June 30, 2008,
21 that counsel’s written objections to the Pre-Sentence Report shall be delivered to the
22 Probation Officer and opposing counsel no later than July 14, 2008, that the Pre-
23 Sentence Report shall be filed with the Court and disclosed to counsel no later than July
24 21, 2008, and that the Motion for correction of the Pre-Sentence Report shall be filed
25 with the Court and served on the Probation Officer and opposing counsel no later than
26 July 28, 2008.
27 /////
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29                                             1
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 1                                      Respectfully submitted,
 2
 3 DATED: April 28, 2008                      /S/
                                        BRUCE LOCKE
 4                                      Attorney for Jesus Valencia Ontiveros
 5
 6 DATED: April 28, 2008                     /S/
                                        PHILIP FERRARI
 7                                      Attorney for the United States
 8
 9         IT IS SO ORDERED:
10
     DATED: April 28, 2008
11
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13                                 _______________________________________
                                   FRANK C. DAMRELL, JR.
14                                 UNITED STATES DISTRICT JUDGE
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